                                                       FILED: January 29, 2024


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


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                                      No. 22-4609
                                   (2:22-cr-00097-1)
                                 ___________________

UNITED STATES OF AMERICA

               Plaintiff - Appellant

v.

RANDY PRICE

               Defendant - Appellee

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DISTRICT OF COLUMBIA; CALIFORNIA; COLORADO; CONNECTICUT;
DELAWARE; HAWAII; IDAHO; ILLINOIS; MAINE; MARYLAND;
MASSACHUSETTS; MICHIGAN; MINNESOTA; NEW JERSEY; NEW
MEXICO; NEW YORK; NORTH CAROLINA; OHIO; OREGON;
PENNSYLVANIA; RHODE ISLAND; WASHINGTON; THE
COMMONWEALTH OF THE NORTHERN MARIANA ISLANDS;
EVERYTOWN FOR GUN SAFETY; BRADY; MARCH FOR OUR LIVES

               Amici Supporting Appellant

                                 ___________________

                                      ORDER
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      This case is scheduled for oral argument on March 20, 2024.

      Upon consideration of appellant’s unopposed motion to reschedule en banc

argument, the court denies the motion.

                                         For the Court

                                         /s/ Nwamaka Anowi, Clerk
